Case 2:14-cv-11691-LJM-MKM .ECF No. 240, PagelD.6306 Filed 02/22/18 Page 1 of 52

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

JOEY DEARDUFF, NICHOLAS
BAILEY, MELVIN BROWNES,
TIMOTHY BROWNWELL, TIMOTHY _ No. 2:14-cv-11691
FLESSNER, JAMES GUNNELS, LEON
MEANS, JOHN PORTER, ANTHONY = HON. LAURIE L. MICHELSON
RICHARDSON, CAROL ROMAN,
BRYAN SLONE, and TINA STOLL, on MAG. MONA K. MAJZOUB
behalf of themselves all others similarly
situated,
Plaintiffs,
Vv
HEIDI WASHINGTON, Director,
Michigan Department of Corrections,
JONG CHOI, Dental Regional Director,
they are sued in their official capacities,

 

Defendant.
/
Daniel E. Manville (P39731) Rock Wood (P41181)
Attorney for Plainttffs A. Peter Govorchin (P31161)
Michigan State University College of Law Lisa C. Geminick (P60964)
P.O. Box 1570 Assistant Attorneys General
East Lansing, Michigan 48826 Attorneys for Defendants
$17.336.8088, ext. 1137 Civil Litigation, Employment & Elections
Division
Robert Gittleman (P14025) P.O. Box 30736
Tracie Gittleman (P45176) Lansing, Michigan 48909
Attorneys for Plaintiffs 517.373.6434
31731 Northwestern Hwy, Ste. 1O1E
Farmington Hills, Michigan 48334
248.737.3600
/

 

ANSWER OF DEFENDANTS WASHINGTON AND CHOI TO
PLAINTIFFS’ FOURTH AMENDED COMPLAINT

 

 
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6307 Filed 02/22/18 Page 2 of 52

PRELIMINARY STATEMENT

Defendants Heidi Washin gton, Director of the Michigan Department of
Corrections (MDOC) and Jong Choi, Southern Region Dental Director and Acting
Northern Region Dental Director (hereafter “Defendants”) who are being sued in
their official capacity only, answer Plaintiffs’ Fourth Amended Complaint as
follows:

Defendants admit that the MDOC’s Dental Services policy, PD 04.06.150
was amended effective September 30, 2013 in two material areas relevant to this
suit:

First, to more effectively balance the MDOC’s dental resources to the
prisoner population’s serious dental needs, the dental services policy prioritized
urgent dental needs over routine/non-serious dental needs and instituted a two-year
qualification period before prisoners could request routine/non-serious dental care.

Second, the revised policy created a dental stabilization center at the
Reception and Guidance Center so newly arriving prisoners could be assessed to
determine if they had any serious dental needs at intake.

In addition, simultaneously, and improved from time to time since
September 30, 2013, a state wide Routine Dental Appointment List (RDAL) was
created so that, after serving two continuous years of incarceration, prisoners

requesting routine/non-serious dental care could be scheduled and provided service

2
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6308 Filed 02/22/18 Page 3 of 52

in as fair a manner as practical. The RDAL is a dynamic list with additions and
removals from the RDAL happening potentially at every dental clinic on every day
that the dental clinics are open. The RDAL may be retrieved on a location served
basis at any time by the dental clinic staff.

A further clarification provided that a prisoner with an urgent/serious dental
condition would be seen at any time the condition presented, whether the condition
presented during the first two years of incarceration or later, while a prisoner was
on the RDAL, or at any other time. When an urgent condition was made known to
dental staff, the dental staff have endeavored to clinically address the
urgent/serious dental condition within three days or less themselves or by referral

to health care.

PARTIES AND FACTS

 

l, Defendants admit that Plaintiff Dearduff #732738 is a prisoner who ~
has been in the continuous custody of the MDOC since approximately May 17,
2013 to the present. At the intake dental screening, Dearduff reported that he had
not been to a dentist in 2-5 years, possibly going back to his previous incarceration.
Over the next seven months, Dearduff received a series of exams and urgent dental
services including extractions of teeth #1 and #2, with tooth #2 having been broken

for two years and being tender to percussion and the extraction, as unrestorable, of
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6309 Filed 02/22/18 Page 4 of 52

teeth #7, #8, #9 and #10 by September 2013. In October 2013, Dearduff had tooth
#16 extracted as unrestorable.

Dearduff’ s dental record indicates he requested prosthetics on December 13,
2013 which request was denied as prosthetics are a routine dental service
addressing a routine dental need — in Dearduff’ s case, he was then missing 8 of 32
teeth (## 1, 2, 4, 7, 8, 9, 10, 16). Plaintiff Dearduff was seen on March 13, 2014 for
a complaint about pain in tooth #3. Plaintiff Dearduff s chart indicates that his
tooth #14 had been treated with a root canal prior to his return to incarceration but
was noted to be unrestorable at his June 3, 2013 screening. Plaintiff was seen on
April 29, 2014 about Tooth #14 described as occasionally painful but was not then
in an emergency condition. Dearduff was scheduled for extraction, which occurred
on June 4, 2014.

Plaintiff Dearduff received a full dental exam (as compared to a focused
exam that focuses on the complaint being presented) on December 3, 2015.
Dearduff was scheduled for periodontal debridement, which was provided on
December 10, 2015. Since December 2015, Plaintiff Dearduff has received regular
periodontal care, restorations, and additional extraction but still has too many
remaining useable teeth to qualify for a denture. On September 26, 2016 Plaintiff

Dearduff requested that the dentist extract six additional teeth so he would qualify

for a denture. Plaintiff Dearduff’s request was denied as the dentist declined to
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6310 Filed 02/22/18 Page 5 of 52

extract teeth for a non-medically necessary reason. Between September 26, 2016
and January 16, 2018, Plaintiff Dearduff did not request any dental services. As to
any other allegations in this averment, they are denied as untrue.

2. Defendants admit that Plaintiff Bailey #970872, 24 years old, is
presently incarcerated in the MDOC, having arrived approximately April 15, 2016.
At Plaintiff Bailey’s intake dental screening on April 25, 2016, it was noted that
Bailey had 21 present but unrestorable teeth due to dental carries; that teeth #2, #3,
#13, #14, and #15 had been restored (had amalgam fillings) and that teeth #6, #20,
#22, and #24 had no observed problems. Only tooth #32 was missing.

Bailey complained of pain on May 11, 2016 and teeth #1, #2, #4, #26, #27,
#28, #29, #30 and #31 were extracted. On June 1, 2016 Bailey explained that he
had a Cradle Rock and Mountain Dew addiction and it was noted that Bailey’s
teeth ##17-25 should be extracted as unrestorable, The extraction of these teeth
occurred on June 9, 2016. On July 8, 2016 Bailey’s teeth #10, #11, and #12 were
extracted as unrestorable. On August 4, 2016 Bailey’s teeth ##13-16 were
extracted as unrestorable. On August 30, 2016 Bailey’s teeth ##3-9 were extracted.

On September 30, 2016 Bailey submitted a kite complaining of difficulty
eating without teeth. Dental services responded that Bailey had agreed to the
extractions on June 1, 2016 after it had been explained that he would not be

eligible for dentures until 2018 and he had consented to the extractions. On
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6311 Filed 02/22/18 Page 6 of 52

October 5, 2016 Bailey was offered a soft diet. A soft diet was offered again on
November 2 and November 22, 2016. Bailey declined the detail for a soft diet
explaining that the food served was already soft.

Bailey was offered a soft diet again on February 16, 2017 and May 17, 2017.
On June 26, 2017 a remaining root tip from tooth #15 was extracted. A pureed diet
was ordered for Bailey. On July12, 2017 Bailey informed dental that he no longer
wanted the pureed diet so a regular diet was ordered for him.

On November 14, 2017 Bailey complained that he could not eat. He was
weighed in at 182 pounds that date, compared to his weight on arrival at the
Reception Center of 165.8 pounds on April 21, 2016. Bailey was offered the
pureed diet but refused. Bailey will be eligible to request dentures as of April 15,
2018.

As to any other allegations in this averment, they are denied as untrue.

3. Defendants admit that Plaintiff Brownell #656313 has been
incarcerated with MDOC since approximately August 9, 2007. As pertaining to
Plaintiff Brownell’s claim in this suit, after having seen the dentist in February,
April, June, and November, 2016 for various restorative and periodontal treatment
care, Brownell requested an exam. This is routine care and a prisoner may request
an exam annually after having been incarcerated for two continuous years.

Brownell received his exam on January 11, 2017 where he received a treatment
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6312 Filed 02/22/18 Page 7 of 52

plan for a teeth cleaning, filling for tooth #15 and an assessment of tooth #14.
Brownell’s teeth cleaning was completed on February 23, 2017, noting that his
personal oral hygiene was poor.

On May 26, 2017, Brownell was seen for an urgent kite received on May 25,
2017. The issue turned out to be a fracture of tooth #31, which was restored that
day with glass ionomer. Tooth #31 had no apparent pupal involvement. Tooth #14
was also examined and shown to have gross decay and abscess. Brownell accepted
the restoration of tooth #31 but refused the recommended extraction of tooth #14.
Brownell requested a root canal but that particular treatment to address the issue is
not offered in the MDOC. An extraction resolves the condition by alleviating
associated pain and greatly reducing the risk of infection. On June 29, 2017
Brownell agreed to the recommended extraction, which resolved the discomfort
associated with the infected tooth.

As to any other allegations in this averment, they are denied as untrue.

4, Defendants admit that Plaintiff Bownes #172328 (misidentified,
according to Plaintiffs’ counsel, in the Fourth Amended Complaint) is serving on
his sixteenth felony conviction resulting in incarcerations going back to 1983.
Plaintiff Bownes was most recently discharged from custody on October 11, 2013

and returned to his present custodial placement on March 23, 2016.
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6313 Filed 02/22/18 Page 8 of 52

Having been out of prison for nearly two and a half years, Plaintiff Bownes
received his intake dental screening on March 25, 2016. Bownes had no urgent
dental issues. On May 2, 2016 Bownes kited for a routine dental exam. Bownes
was informed that he was eligible to request a routine dental exam after two years
of current continuous incarceration. Bownes kited for the same routine dental exam
in July and August 2017 and was informed of the eligibility criteria. Bownes will
be eligible to request a dental exam after March 23, 2018. Between August 23,
2017 and January 16, 2018 Bownes did not submit any additional kites and
complained to dental of no dental problems. As to any additional allegations in
this averment, they are denied as untrue.

5. Defendants admit that Plaintiff Flessner #703698 has been
incarcerated since August 17, 2015. On August 27, 2015 Flessner was seen for his
intake dental screening. His oral hygiene was poor and his calculus was heavy.
Flessner was referred to the Duane Waters Dental Stabilization clinic. He was
seen on September 23, 2015 the dentist noted that two of Flessner’s teeth were
severely decayed, being teeth #22 and #29. Tooth #22 had pulpal involvement but
#29 did not appear to have pulpal involvement. The dentist recommended
extractions but Flessner refused, signing a release of responsibility.

Nineteen months later, on April 10, 2017, Flessner kited saying he had a

sore lower right tooth. Flessner was scheduled for the next clinic day and he
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6314 Filed 02/22/18 Page 9 of 52

agreed to wait until then. Flessner was seen on April 14, 2017. The clinical exam
revealed rampant decay with periodontal disease. Flessner was advised to
complete the exam and the dentist would attempt to restore the tooth but Flessner
would have to have teeth with pulpal involvement removed. Patient left but was
told to kite if pain exacerbates. Flessner left and did not kite for any dental care
from April 14, 2017 through January 16, 2018.

6. Defendants admit that Plaintiff Gunnels #186011 returned to MDOC
custody on October 20, 2016 with his eighth felony. He was seen for his intake
dental screening on October 04, 2016 and presented without teeth or dentures.
Gunnels had been issued dentures during a previous incarceration on June 4, 2010.
Gunnels reported during his intake exam that he had not been to a dentist for
between five and ten years. Gunnels requested dentures on December 9, 2016 and
was informed that dentures are a routine dental service and he would not be
eligible until October, 2018. There was no indication as to how long Gunnels had
been without his 2010 dentures or any observable problem with Gunnels’
edentulous condition.

On March 2, 2017 Gunnels was informed that if he had dentures before he

came to prison he could have them mailed in to him for his use.
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6315 Filed 02/22/18 Page 10 of 52

On November 28, 2017 Gunnels kited for dentures and was told he was not
eligible. There are no other entries indicating any problems for Gunnels up
through January 16, 2018.

As to any other allegations in this averment, they are denied as untrue.

7. Defendants admit that Plaintiff Means #131310 returned to MDOC
custody on July 1, 2015 on his tenth felony conviction. Means was seen in 2009 in
preparation for dentures but was released from prison before they could be made.
When Means returned to prison and was seen for his intake exam on July 6, 2015
he was noted to be edentulous and there is no indication he had dentures with him.
Means did not kite dental again until October 4, 2016 asking about dentures. He
was not yet eligible for the routine/non-serious dental care, On July 6, 2017 Means
kited to get on the prosthetic list.

On September 11, 2017 Means was seen for a full exam and a treatment plan
for prosthetics. His final impression (the first formal step for production of
dentures) was taken. On November 30, 2017 Plaintiff Means received his full
dentures.

8. Defendants admit that Plaintiff Porter #154033 has been incarcerated
with the MDOC since May 29, 1978. Plaintiff Porter is now just over 80 years old.
Defendants also admit that Porter received an upper and lower partial denture on

November 6, 2014. Since receiving his upper and lower partial dentures, Porter

10
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6316 Filed 02/22/18 Page 11 of 52

had tooth #27 extracted on April 6, 2015, tooth #9 extracted on July 12, 2016, and
teeth #7 and #10 extracted on April 25, 2017.

Defendants admit that the dental clinic received a kite from Porter on May 8,
2017 complaining that Porter’s partial denture was broken. A broken denture may
be repaired before the five-year period to replace an existing denture. Porter was
seen the next day, on May 9, 2017, but he did not bring his broken denture to the
clinic to have it repaired. At his visit, Porter claimed he had lost his denture and
did not want to return to his housing unit to get it. Porter was told he would need a
new dental exam but refused the exam because he said he did not want to pay the
$5 co-pay. Porter was told that he was not eligible for a new fabrication of his
dentures because of the five-year period (which is true if his condition has not
materially changed).

Porter returned to the clinic on May 17, 2017 where a final impression was
taken to try a partial upper and lower repair (The “lost” dentures having apparently
been found) by attempting to add in the missing teeth. The attempt to add in the
missing teeth failed. Porter was given a 180-day soft mechanical diet and told he
could not receive a new denture under the dental policy because it had been less
than five years since he received his partials.

Defendants believe this conclusion is a mistaken interpretation of the dental

services policy and have clarified that issue with the clinic. Porter’s dental

11
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6317 Filed 02/22/18 Page 12 of 52

condition has most likely changed so much that making partial dentures for him
now is more like providing new dentures for his current condition than replacing
his existing partials.

Porter was called back to the clinic to receive an exam, preparatory to taking
the final impressions for fabricating new partials to address Porter’s changed dental
condition. Porter will be charged the mandatory $5 co-pay for the necessary exam,
but the exam will determine the need for a new partial denture to account for the
four teeth extracted since his 2014 dentures were provided. The exam is also
necessary to ensure that Porter’s dental condition is sufficiently stable to for new
partials. On February 22, 2018 Porter went to the dental clinic where it was
explained that he needed an exam to get the process started for new partials. Porter
refused the exam as, in the past, he did not want to pay the mandatory $5 co-pay
for an exam. Therefore, Porter has refused the offered dental care that Porter
claimed he wanted, which amounts to a release.

As to any other allegations in this averment, they are denied as untrue.

9, Defendants admit that Plaintiff Reeves #717138 is serving his most
recent incarceration beginning January 6, 201 7, Defendants admit that Reeves was
seen for his intake dental screening exam on January 10, 2017 and that the exam
noted that Reeves oral hygiene was fair, his calculus was moderate and his perio

condition was “early”. Reeves needed no stabilization referrals.

12
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6318 Filed 02/22/18 Page 13 of 52

“

On July 3, 2017 Reeves kited for a teeth cleaning stating he had never had
his teeth cleaned. Reeves was first incarcerated in October 2009, paroled
December 28, 2010, returned to MDOC custody September 1, 2011, paroled July
24, 2014, returned from parole September 16, 2014, was released on parole
October 16, 2014. Reeves returned to MDOC custody on May 20, 2015, was
released on parole June 19, 2015, returned to MDOC custody August 20, 2015.
Reeves was paroled again on March 29, 2016, returned on April 29, 2016, was
released on May 6, 2016 and then has returned for his current custody to the
MDOC on January 6, 2017.

On October 24, 2017 Reeves kited again requesting the routine, non-serious
teeth cleaning saying his teeth were sensitive. Reeves was again informed that he
would be eligible for routine dental care on January 6, 2019. There are no further
contacts from Reeves to dental services as of January 16, 2018.

As to any other allegations in this averment, they are denied as untrue.

10. Defendants admit that Plaintiff Richardson #235980 has been
incarcerated with the MDOC since March 3, 1994. Defendants admit that
Richardson has received regular periodontal care and treatment for many years.
Notably, since 2014, Richardson received perio scaling per dental arch on April 15,

2014 and was educated by demonstrating proper brushing and flossing techniques.

13
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6319 Filed 02/22/18 Page 14 of 52

A little more than one year and four months later Richardson kited on
August 25, 2015 requesting a dental exam and cleaning. Richardson received the
periodontal scaling of his maxillary and mandibular arch on September 23, 2015.

On February 2, 2016 Richardson was examined in response to his kite about
bleeding gums. The exam revealed bleeding around teeth #1 and #2 and
Richardson was treatment planed for the extraction of those two teeth. Richardson
refused consent for the extractions and was issued pain medications instead. On
June 9, 2016 dental service received a kite from Richardson complaining about
pain in his upper right rear teeth. On June 15, 2016 when Richardson showed up at
the dental clinic he refused the recommended extraction but his refusal to sign the
Release of Responsibility was noted.

On November 16, 2016 Richardson had his teeth cleaned. On February 8,
2017 Richardson’s periodontal condition was generalized but evaluated as early. |
On March 14, 2017 Richardson received another teeth cleaning.

On July 12, 2017 and November 27, 2017 the dental service received kites
from Richardson requesting additional teeth cleanings and he was informed that he
could only get one routine teeth cleaning per year. Richardson will be eligible to
request another tooth cleaning on March 14, 2018.

Since March 14, 2017 through January 16, 2018 there were no other requests

for dental service from Richardson.

14
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6320 Filed 02/22/18 Page 15 of 52

As to any other allegations in this averment, they are denied as untrue.
ll. Defendants admit that Plaintiff Roman #250050 has resided in the
-MDOC on his most recent incarceration since January 19, 2017. Defendants also
admit that Roman’s perio condition was described at his intake screening exam on
October 29, 2004 as early. On January 25, 2007, Roman’s perio condition was
described as mild. At his exam on February 5, 2009 Roman’s perio condition was
described as mild moderate. Roman was discharged from MDOC custody on
August 4, 2012. When he returned to MDOC custody and had his most recent
intake screening exam on January 23, 2017 his perio condition was described as
early moderate.

On June 12, 2017 dental services received a kite from Roman asking for a
teeth cleaning. He was advised to kite again for the routine treatment on January
19, 2019. Roman promptly sent another kite which was received on June 20, 2017
asking for a teeth cleaning. On January 16, 2018 Roman submitted a kite saying
he needed a cavity re-done on his lower left side teeth. On January 19, 2018
Roman was seen in the dental clinic, bite wing x-rays taken and treatment planned
for filling. The filling was re-done on January 30, 2018. Roman is projected for
parole release on March 20, 2018.

Defendants point to Plaintiff Roman’s situation as an example of reasonably

good self-care with one’s oral hygiene significantly slows the progress of a

15
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6321 Filed 02/22/18 Page 16 of 52

periodontal condition, such that Roman has experienced only slight change in his
condition in the more than 13 years since he was first described in the MDOC as
having early perio condition.

As to any other allegations in this averment, they are denied as untrue.

12. Defendants admit that Plaintiff Slone #296250 has been incarcerated
on his most recent commitment to the MDOC as of March 15, 2013.

Defendants admit that dental services received a kite from Slone
complaining of pain from a broken tooth on February 25, 2014. Slone was

“examined and tooth #18 was identified as being fractured and unrestorable. Slone

was given antibiotics and pain meds and tooth #18 was scheduled for extraction.
The extraction was performed on February 27, 2014.

Also, on February 27, 2014 Slone was noted to have a cavity in tooth #19.
Slone was given a sedative and a temporary filling in tooth #19. On September 25,
2014 dental services received a kite from Slone where he complained of pain.
Slone was seen on October 1, 2014 and described tooth #19 as a source of
sensitivity/discomfort. Slone’s tooth #19 was restored that day with an amalgam
filling. T'wo and one-half years later, Slone had a complete exam, perio scaling
and was scheduled for another restoration on Tooth #19, which was fractured. The

restoration of Slone’s tooth #19 was completed on April 17, 2017.

16
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6322 Filed 02/22/18 Page 17 of 52

On June 7, 2017 Slone kited dental saying he bit into a bone chip in the
chow hall and broke his tooth. On June 8, 2017 Slone was examined and it was
determined that his tooth #19 and #21 fillings had fractured. Both fractured
fillings were re-done on June 8, 2017. Since that date there has been no further
contact with dental services by Slone for tooth #19. Defendants note that the above
history shows that Slone received timely treatment in the form of restorations to
address his symptoms of discomfort, promptly to the complaints of that discomfort,
despite restorations for dental conditions that do not cause pain being considered
routine. Slone did need to wait until he had served two years in the MDOC before
he could request restorations which he began receiving after he requested them on
March 19, 2015.

As to any other allegations in this averment, they are denied as untrue.

13. Defendants admit that Plaintiff Stoll #875525 began her incarceration
with the MDOC on June 10, 2013. When Stoll arrived in MDOC custody her oral
condition was poor, her perio condition was advanced, tooth #16 was impacted,
and five teeth were missing (## 1, 15, 17, 18, and 19). Stoll had unrestorable roots
tips remaining for teeth ## 2, 4,7; and 13. Stoll had unrestorable carries in teeth
## 3, 6, 10 and 28. Stoll had decay on three surfaces of tooth #8 and two surfaces
of tooth #9 and one surface on tooth #5. On August 22, 2013 Stoll did request a

teeth cleaning and was placed on the list, as the September 30, 2013 dental services

17
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6323 Filed 02/22/18 Page 18 of 52

policy establishing the two years of continuous incarceration as the qualifier for
routine/non-serious dental care was not then in place. After the September 30,
2013 policy took effect, Stoll was not qualified for routine dental care until June
19, 2015. However, Stoll would need and receive a significant amount of other
dental care before that date.

On February 14, 2013 the remaining root tips for teeth #2 and #4, extracted
and the unrestorable tooth #3 extracted.

On May 20, 2014 dental services received a kite complaining of pain in
Stoll’s lower right side of jaw. On May 22, 2014 Stoll was examined and found to
have gross decay of teeth #5, #6 and #7 root tip. These teeth were extracted on
May 27, 2014.

Dental services received a kite from Stoll complaining about pain in tooth
#13 on June 11, 2014. Stoll was seen the same day and gross decay of #13 was
observed. Stoll was informed that day of the hopeless condition of her remaining
upper teeth but only wanted the troublesome tooth (#13) extracted then. Tooth #13
was extracted on June 13, 2014.

Defendants note that a patient’s dental condition must be stable before
dentures (full or partial) can be fabricated because the dentures are intended to last
for five years. Stoll’s condition was not stable in June, 2014 and she knew it

because the chance of keeping her upper teeth was hopeless and even though they

18
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6324 Filed 02/22/18 Page 19 of 52

were not hurting her, there would be no good reason to fabricate a denture to fit
those hopeless teeth, knowing they could need extraction at any time, making the
denture no longer workabie.

On February 18, 2015 dental services received a kite complaining of
toothache and pain. Stoll was told about the effect of sugary foods on decayed
teeth, including the tooth #14 being pointed to, but it was noted that no urgent
treatment was required at that time. Stoll would kite again on May 18, 2015 about
tooth #14 and Stoll was put on the schedule for extraction but Stoll still had not
agreed to the extraction. On June 18, 2015 Stoll did agree to the recommended
extraction of #14 and it was removed.

On July 7, 2015 Stoll refused her exam and teeth cleaning signing a release
of responsibility. On July 21, 2015 a bone spicule was removed from the #14 site.
On August 3, 2015 Stoll was examined and found to have swelling in the areas of
#10 and #13. Stoll was prescribed medications and scheduled for the removal of
teeth ## 8-12. These teeth were extracted on August 21, 2015.

On September 10, 2015 dental services-received a kite from Stoll
complaining of broken and decayed tooth pain. Stoll was examined that same day
and teeth #28 and #29 were observed to be unrestorable. These teeth were planned
for extraction and then extracted on September 22, 2015. Stoll’s recovery required

antibiotics and pain medications on October 1, 2015 which were issued.

19
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6325 Filed 02/22/18 Page 20 of 52

Stoll received a debridement treatment on February 9, 2016 and then was
seen on February 29, 2016 and treatment planned for the extraction of teeth ## 20,
21, 22, 23, 24, 25, 26, and 4, These teeth were extracted on March 9, 2016. Stoll
received follow up care during her recovery from these extensive extractions on
March 22, 2016.

Stoll kited for dentures on May 9, 2016. Stoll was informed on June 8, 2016
that she was on the list for dentures. After all healing was complete and a patient’s
mouth has settled into its post extraction shape, the fabrication of dentures can
rationally begin. Stoll received her “final Impression” (the first of seven steps in
the actual denture fabrication process) on June 23, 2016.

Stoll received her full dentures on January 13, 2017, which was 10 days
earlier than six-months from when her final impression was taken, and this period
of denture fabrication was the first time in Stoll’s incarceration that she could
reasonably have been fitted with dentures given the constant alteration in her
dentition.

As to any other allegations in the averment, they are denied as untrue.

14. Defendants admit that Heidi Washington is the director of the
MDOC and has held that position since July 1, 2015. Since the retirement of Dr.
Taylor on March 1, 2017, Director Washington had only one regional dental

director. Defendant Washington, as the Director of the MDOC does oversee the

20
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6326 Filed 02/22/18 Page 21 of 52

management, through a number of other MDOC employees, of the MDOC
correctional facilities.

15. Defendants admit that Jong Choi, D.D.S. is the Southern Region
Dental Director and Acting Northern Region Dental Director and that all actions
taken by him have been in the course of his employment and in the furtherance of
his duties in those positions.

JURISDICTION

16. Admitted.

17. Admitted.

18. Defendants admit that Plaintiffs seek class certification based on the
four class claims and the purported class representatives set forth in their Fourth
Amended Complaint. Defendants deny that Plaintiffs’ have appropriate class
representatives or have otherwise met the criteria for class certification.

VENUE

19. Admitted.

FACTUAL ALLEGATIONS

20. Defendants admit that Heidi Washington is the Director of the
MDOC and that in her official capacity as the Director is responsible for and does

actually ensure constitutionally sufficient dental care to the prisoner population.

21
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6327 Filed 02/22/18 Page 22 of 52

21. As of March 24, 2018 there will be 29 MDOC Correctional Facilities
and 34 dental clinics in those correctional facilities housing approximately 39,000
prisoners. Some facilities have East and West side clinics or North and South side
clinics, which results in a few more clinics than facilities. Defendants admit that
the MDOC is obligated to make dental care available to the prisoner population
that does not subject that population to cruel and unusual punishment but denies
that the MDOC has any obligation to operate its dental clinics in the manner of the
for-profit dental industry.

22. Denied. Dr. Choi is currently the Regional Dental Director for the
Southern Region of MDOC and is also the Acting Dental Director of the Northern
Region of the MDOC. Dr. Choi is charged with ensuring dental services are
delivered in accord with the MDOC Dental Services Policy Directive, dated March
14, 2017 (currently under proposed revision). A new Dental Services Operating
procedure is under development and should be issued soon. The former dental
services protocol was rescinded December 19, 2017. A new Dental Services
Manual was issued that same date as a guide to the MDOC Dental Services
practitioners.

23. The numbers vary of course, but Defendants will accept the assertion
that there are approximately 8,000 prisoners who enter or are returned to prison as

parole violators per year (2017/2018). Defendants admit that these prisoners are

22
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6328 Filed 02/22/18 Page 23 of 52

not eligible to receive routine dental care for their first two years of current
continuous incarceration but deny that such prisoners are denied dental care to
address painful conditions. All newly arriving prisoners are eligible for a dental
screening exam shortly after their arrival at the Reception and Guidance Center at
the Egeler Correctional Facility. If these prisoners are found to have urgent
conditions they are referred to the dental stabilization clinic at the Duane Waters
Health Center (DWHC). There the prisoners’ urgent conditions are examined and
treated or, if the prisoner is transferred before their urgent and stabilization
treatment can be treated they are eligible for prompt care at the receiving facility
dental clinic, under a stabilization referral.

If the prisoner is referred to the stabilization clinic and has dental issues that
are not quite urgent but are thought likely to become urgent in the near future, they
are provided a stabilization referral that entitles their condition to be treated, at the
prisoner’s request, at the receiving facility as if it was an urgent complaint. This
means the prisoner with a stabilization referral will be seen promptly if they kite
for treatment of the issue for which they have a stabilization referral, even 1f the
issue is not urgent at the moment.

A prisoner’s symptoms, rather than the dental service used to address the
condition determines whether the prisoner has an urgent condition or not. Any

condition that is not urgent, other than a stabilization referral from the stabilization

23
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6329 Filed 02/22/18 Page 24 of 52

clinic at DWHC, is considered routine. Dental services made available by the
MDOC’s dental service commonly used to respond to routine dental issues are
often described as routine dental care, but these same services may sometimes be
the dental service response to an urgent dental need. As to any other allegations in
this averment, they are denied as untrue.

24. Denied for the reason that his averment is not true. Please see
response to No. 23 above.

25. Except as described above in response to No. 23, ifa plaintiff had a
non-urgent (meaning non-serious) dental condition within the first two years of
their incarceration after September 30, 2013, and the condition remained non-
urgent, that prisoner would not be provided routine dental care for that routine
(non-urgent) dental condition, until they requested such dental service after they
had served two years of continuous incarceration. Of course, if that same prisoner
had an urgent dental condition or a non-serous dental condition became serious,
and that prisoner requested dental care, if would be provided promptly.

26. Defendants admit that prior to September 30, 2013 access to dental
care in the MDOC was on a chaotic, first come first served basis with an injection
of dentist/dental staff discretion, that may have occasionally appeared arbitrary to
the prisoner patient population. Defendants further admit that an effort was made

to rationalize the available chair time so that it could be available to serious dental

24
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6330 Filed 02/22/18 Page 25 of 52

need cases as a priority, with any extra chair time being made available for dental
issues that were not urgent, but which could benefit from attention. This method of
making urgent care available on demand and non-urgent care as time allows after
two years of continuous incarceration has allowed the MDOC dental service to
provide timely urgent care and left dental service time available to still provide
non-urgent care to thousands of prisoners annually.

27. See response to No. 26 above. In addition, Defendants admit that
after the September 30, 2013 Dental Services Policy Directive took effect, the
Dental appointment list, which was a confused amalgam of non-serious requests
with some urgent requests and contained over 8,000 persons, was reduced to under
6,000 persons by September 30, 2013. There were two primary factors in this
reduction: first, those prisoners who had not been incarcerated for two or more
continuous years, were removed from the Dental Appointment List and the new list
was now called the Routine Dental Appointment List, so any prisoner with an
urgent dental condition would not be placed on the list but would be called out
promptly for clinical attention.

By the end of 2015, the RDAL for non-urgent patients was down to 3,744.
As of February 18, 2018, the RDAL is at 3,378 cumulatively over the 35 dental
clinic locations.

As to any other allegations in this averment, they are denied as untrue.

25
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6331 Filed 02/22/18 Page 26 of 52

28. Defendants admit that the new policy directive did not define routine
dental care as that care meant to address a painful condition. That type of
condition would be considered urgent and is expressly available on request. Also,
prisoners were instructed on proper oral hygiene when they went through the
intake dental screening upon arrival to reduce the risk of dental conditions
worsening in the first two years of incarceration (see discussion of Plaintiff Roman
above) or for however many years of incarceration the prisoner may serve. As to
any other allegations in this averment, they are denied as untrue.

29. Denied for the reason that this averment is not true. Please refer to
responses to Numbers 23-28 above.

30. Denied for the reason that his averment is not true. Defendants,

through the Intake Dental Screening process look for signs of serious periodontal

 

disease and when identified, provide debridement and/or root planning and scaling
dental care to address the condition. Defendants do also provide patient education
on proper oral hygiene but if the condition is not urgent at the time of the
examination or believed likely to become urgent in the near future, there is no
serious dental need. The Defendants admit that prisoners do not receive clinically
provided preventive care for conditions that are not observed to be urgent at the

time of observation in the first two years of continuous incarceration.

26
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6332 Filed 02/22/18 Page 27 of 52

31. Denied for the reason that this averment is not trae. The MDOC is
obligated to provide dental care to address conditions that if not then attended to
would result in cruel and unusual punishment in violation of the 8" Amendment.
Defendants look for periodontal conditions at the intake screening exam that are at
the time of the exam serious/urgent and provide care as warranted.

32. _ Denied for the reason this averment is not true.

33. Denied for the reason this averment is not true. First, system wide,
there are more restorations performed than extractions. Second, any time a
prisoner has an urgent dental need (e.g. pain, swelling, infection, excessive
bleeding), the prisoner may request dental care and receive prompt (usually within
3 days) clinical care to address or stabilize the dental situation.

34. Denied for the reason that this averment is not true. It is accurate to
state that after a prisoner has been continuously incarcerated for two or more years,
they may kite for routine care. Regardless of the issue the prisoner mentions, the
prisoner is placed on the RDAL as of the date their kite is received in the dental
clinic, if the condition is not perceived to be urgent. For those on the RDAL, when
the prisoner is called out, the prisoner is usually offered an exam and teeth cleaning
after discussing whatever the prisoner’s complaint is. Often, the prisoner has no

specific complaint but has only requested an exam and/or teeth cleaning.

27
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6333 Filed 02/22/18 Page 28 of 52

Currently, there is an approximate 80% turnover of the prisoners on the RDAL
every four months.

35. Denied for the reason this averment is not true.

36. Denied for the reason that this averment is not true. Being without a
few, several, many or all of one’s teeth is not, in and of itself, an urgent dental
condition. A soft diet may be prescribed on request but many times, prisoners will
say the food served in the prison cafeteria is already soft enough. Dentures made
by the MDOC dental services are intended to last at least five years and once
issued, may be replaced after five years.

As to any other allegations in this averment, they are denied as untrue.

37. Denied for the reason that this averment is not true.

CLASS ACTION ALLEGATIONS

A. 24 months No Routine Dental Care — Class I

38. Defendants admit that named Plaintiffs Bailey, Bownes, Flessner,
Gunnels, Means, Reeves, Roman and Slone present themselves as proposed class
representatives of a class of prisoners who challenge the MDOC Dental Service
Policy of making routine dental services available, if requested, only after the
prisoner has served two continuous years of incarceration. Defendant denies that
these named Plaintiffs are adequate class representatives for this proposed class.

The following proffered class representatives did not exhaust on this claim:

28
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6334 Filed 02/22/18 Page 29 of 52

 

Bailey, Bownes and Slone. The following proffered class representative’s claims
are moot: Means and Flessner. The remaining proffered Plaintiffs have failed to
state a claim on which relief can be granted. (See above responses to their
individual allegations).

(1) Fed. R. Civ. P. 23 (a)(i)

39. Defendants admit that the number of prisoners admitted or returned
to MDOC custody and who have served less than two continuous years of their
current incarceration is so numerous that joinder would be impractical.

40. Defendants admit that prisoners must request non-urgent dental care
before they are placed on the RDAL. All dental services are initiated by the
prisoner, whether for an urgent or a routine dental condition, Not all prisoners
request routine dental care once they are eligible. Routine dental care is provided
in the approximate order a prisoner is listed on the RDAL, sorted by the
facility/side where the prisoner is located. Defendants deny that this process, in
essence a digital rope line for non-urgent dental care requests, causes a violation of
a prisoner’s right to not be subjected to deliberately indifferent health care.

Al. It may be possible to identify at any given moment, the prisoners who
have been incarcerated less than two years on their current incarceration.

(2) Fed. R. Civ. P. 23 (a)(2): Commonality

29
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6335 Filed 02/22/18 Page 30 of 52

42. Defendants admit that it is possible to posit common questions of
fact and law to apply to those prisoners incarcerated for less than two continuous
years and who have requested routine dental care. Defendants deny that such
questions would or do state a claim on which relief may be granted.

a. Defendants deny that the two years of continuous incarceration
before eligibility for routine dental care question states a claim upon
which relief may be granted.

b. Defendants deny that the manner of conducting Intake Dental
Screenings states a claim upon which relief may be granted.

43, Denied for the reason that this averment is not true.

44. This averment proposes a hypothetical and as such need not be
factually responded to. In so far as this averment attempts to assert a certainty, it is
denied as untrue.

45. Denied for the reason that his averment is not true because the intake
screening method used is not inadequate to identify an urgent dental condition.

46. Denied for the reason that this averment is untrue. PSRs are an out
dated method of avoiding high dose radiation during the x-ray process. Modern x-
ray techniques, even those used in the MDOC clinics for bite wing radiographs are
more useful than probing for identifying the degree of bone loss — the primary

indicator of periodontal disease.

30
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6336 Filed 02/22/18 Page 31 of 52

A7. Defendants deny that appropriate dental care is not provided to urgent
dental conditions, if found, during the first two years of continuous incarceration.

48. Defendants’ question whether this averment is true as searching for
the absence of a finding among a large number of persons without first identifying
some distinguishing characteristic associated with the absence is not the same as
being able to identify a population characteristic directly.

49, Admitted.

(3) Fed. R. Civ. P. 23 (a)(3): Typicality

50. Admitted, if the typicality is described as prisoners who do not need
urgent care but instead may request dental care for routine/non-serious dental
concerns.

51. (No averment assigned to this number).

(4) Fed. R. Civ. P. 23 (a) (4): Adequacy of Representation

52. Defendants contend that the proffered Plaintiffs have failed to state a
claim on which relief can be granted and some have claims that are moot, that have
not been exhausted or do not meet the description of the class. Therefore,
Defendants deny that the proffered Plaintiffs will be adequate class representatives
for proposed Class I.

(5) Fed. R. Civ. P. 23 (b)

31
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6337 Filed 02/22/18 Page 32 of 52

53. Defendants admit that the proposed Class I, as described, would meet
the Rule 23 (b) (1) criteria.

54. Defendants admit that the proposed Class I, as described, meets the
criteria of Rule 23 (b), but denies that prospective injunctive relief is warranted.

B. Periodontal Evaluation and Treatment — Class I

55. Denied for the reason that Defendants are not aware that the dental
policy or dental services practices under the policy violate the prisoner class’
constitutional right to be free from deliberately indifferent health care.

56. Defendants admit that the proffered Plaintiffs seek to represent
themselves and similarly situated individuals who challenge their care for
periodontal disease. Defendants deny that the proffered Plaintiffs have claims that
warrant the grant of relief. Bownes, Flessner and Slone did not exhaust their
available administrative remedies. None experienced an urgent/serious medical
need due to an alleged periodontal condition being allegedly unattended to. (See
responses to the proffered Plaintiff's individual claims, above).

(1) ~=Fed. R. Civ. P. 23 (a)(1); Impracticality of Joinder

57. Defendants deny that this description of the proposed Class I as being
all current and future prisoners is non-sensical, unless Plaintiffs are contending that
all individuals have periodontal disease that needs urgent attention at all times.

Therefore, Defendants cannot concur with the posited size of this class. If a person

32
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6338 Filed 02/22/18 Page 33 of 52

with an urgent periodontal condition that is identified and not treated is considered
to be the class, then the class would likely number less than a dozen and possibly
as few as zero.

58. Defendants note that this averment presents a hypothetical which is
meaningless without discussion of self-maintained oral health, a time frame of
years (See Plaintiff Roman’s dental history, described above) and certain other
factors. Defendants deny that prisoners are denied appropriate treatment for
periodontal disease if their condition is urgent or, if merely non-urgent (routine),
and they are eligible for routine dental care.

59. Defendants do not believe this averment to be true without a better
description of the characteristics that would be used to search.

(2) Fed. R. Civ. P. 23 (a)(2): Commonality

60. Defendants are unable to provide a factual response as the description
of who may be in the class is so vague as to make it impossible for Defendants to
know if there could be common questions of fact or law.

a. Defendants contend that this purported common question of
fact cannot apply to the proposed class of all Prisoners incarcerated
now or in the future.

b. See response to a. above.

33
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6339 Filed 02/22/18 Page 34 of 52

61. Defendants admit this is most Jikely true, if a common question of
fact or law is asserted for an identifiable and meaningful Class.

(3) Fed. R. Civ. P. 23 (a)(3): Typicality

62. Defendants deny that the claims of the proffered Plaintiffs are typical
of the class as described.

(4) ‘Fed. R. Civ. P. 23(a)(4): Adequacy of Representation

63. Denied for the reason that Bownes, Flessner and Slone did not exhaust
their available administrative remedies and none of the proffered Plaintiffs have
stated a claim on which relief may be granted.

(5) Fed. R. Civ. P.23 (b)

64. Defendants admit that if the proposed class consisted of 39,000
prisoners, it would meet the criteria of Rule 23 (b) (1) but suggest the actual class
that could state a claim for relief concerning a request for treatment of urgent
condition periodontal disease that is not treated is actually less than a dozen, and,
to Defendants’ knowledge, is more probably closer to zero.

65. Defendants admit that, excepting professional dentist discretion and
judgment in determining when a periodontal condition is urgent, the policy applied
to treatment of routine dental needs is applied for all prisoners.

C. DENTURES — CLASS Ul

66. Denied for the reason that this averment is not true.

34
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6340 Filed 02/22/18 Page 35 of 52

67. Defendants admit that the proffered Plaintiffs assert that they are
similarly situated to other proposed members of proposed Class IT but Defendants
deny that they are all so situated. Baily and Flessner did not exhaust. Means, Stoll
and Porter’s claims are moot, having received their dentures timely to their dental
conditions or, in Porter’s case, having refused the necessary exam for the new
partials. Porter’s claim, as set forth in the fourth Amended Complaint, was unusual
as it represented a mistaken application of policy to his dental condition, which
changed significantly through the loss of at least four teeth from the time of his
initial issuance of upper and lower partial dentures in 2014. Porter was offered,
with a new exam, a new set of partials to accommodate his changed dentition.
Defendants contend the initial rejection of Porter’s request for new partials after
the repair of his old ones failed was an erroneous application of the Dental
Services Policy. Porter’s refusal to allow a dental exam and have the $5 co-pay
assessed against his prisoner account, is a refusal of the offered partial dentures.
Therefore, Porter’s claim for partial dentures must be considered moot. As to the
remaining proffered plaintiffs, see the response to their individual claims above.

(1) Fed. R. Civ. P. 23 (a)(1): Impracticality of Joinder

68. Defendants contend that the assertion that the Class III Plaintiffs
consist of 39,000 prisoners because the entire prisoner population needs dentures is

not possibly true. Defendants cause approximately 250 - 400 dentures (partial and

35
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6341 Filed 02/22/18 Page 36 of 52

full) to be fabricated per year, so if the Plaintiffs are challenging the provision of
dentures to the prisoner population with an urgent need for dentures, the size of the
affected class must be much lower, likely a small subset of the numbers of
prisoners who actually receive a full or partial denture. The number of prisoners
with an urgent denture need that is not treated is unlikely sufficient to make joinder
impractical.

69. Defendants admit, as explained in the response to the proffered
Plaintiffs’ individual allegations above, that some of the proffered Plaintiffs have
requested dentures, some have received them, one is being offered (after a new
exam to ensure his current dentition is stable) a new set of dentures. None of the
proffered Plaintiffs has requested dentures after being assaulted by another
prisoner, nor has it been alleged that staff broke or lost any of their dentures, so,
these proffered Plaintiffs are not adequate to represent a claim based on those
allegations.

70. Denied for the reason that this averment is not true.

71. Defendants are uncertain if prisoners who allege they are being
denied dentures are identifiable unless other affirmative identifying characteristics
are used to describe the subject.

(2) Fed. R. Civ. P. 23 (a)(2): Commonality

36
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6342 Filed 02/22/18 Page 37 of 52

72. Defendants deny, based on the proffered Plaintiffs claims, that there
are common questions of law or fact regarding the provision of dentures to those
with an urgent need for them, as none of the proffered Plaintiffs meet that criteria,
Means, Stoll and Porter all having received their dentures as part of their routine
dental care and Bailey having failed to exhaust.

a, Denied for the reason that his averment is not true.
b. Denied for the reason that this averment is not true.

73.  Ifadenture claim is recognized, it is admitted that Defendants will
raise a common defense.

(3) Fed. R. Civ. P. 23 (a)(3): Typicality

74. Denied for the reason that this averment is not true.

(4) Fed. R. Civ. P. 23 (a)(4): Adequacy of Representation

75. Defendants deny that the proffered Plaintiffs meet the offered criteria

| for Class II or that those not disqualified would represent the interests of the Class
as described.

(5) Fed. R. Civ. P. 23 (b)

76. Defendants deny that there are 1,000 persons who would meet the
description of Class HI but admit that there are likely more than 40 prisoners who
may claim that they would like dentures, even to respond to non-urgent dental

conditions, and that number would be sufficiently numerous to warrant

37
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6343 Filed 02/22/18 Page 38 of 52

consideration of their claims as a class, if that is what is meant by Plaintiffs’ class
claims description.

77. Defendants admit that in defending any claim sO certified, they
would present a common defense, consistent with the requirements of Rule 23 (b)
(2).

D. Waiting List — Class [IV

78. Denied for the reason that this averment is not true. Defendants do
have a Routine Dental Appointment List (RDAL) that is maintained state wide so
that prisoners do not lose their date/place in line for non-urgent, routine dental
care, when they transfer from one facility to another. Defendants deny that
prisoners with urgent dental symptoms are placed on the RDAL instead of being
seen promptly as an urgent dental case.

79. Defendants admit that proffered Plaintiffs Dearduff and Brownell
present themselves as representing persons on the RDAL to receive dentures for
their routine condition, however Defendants deny that Dearduff is similarly
situated to the claim as presented as his dispute with dental service — that he be
given cosmetic dentures even though he has adequate dentition to chew and
maintain his health, is not related to the operation of the RDAL. Similarly,
Brownell (see response above to his individual allegations) does not comport with

the asserted description of the Class [V members. Therefore, Plaintiffs have failed

38
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6344 Filed 02/22/18 Page 39 of 52

to identify any class representatives meeting the definition of Class IV, requiring
Class IV to be disallowed.

(1) Fed. R. Civ. P. 23 (a)(1): Impracticality of Joinder

80. It is possible that if all of the prisoners on the RDAL would be
members of the Class IV, that those 3,300 prisoners would make it impractical to
join all of their individual claims. However, lacking any appropriate class
representatives and defining the problem with the RDAL as waiting for dentures
while on the RDAL, those numbers are much lower, likely only a few dozen at any
one time, making the class of any prisoners experiencing an unreasonable delay
even another factor smaller. This means that joinder would probably be possible
for any cognizable claim as Plaintiffs describe.

81. Denied for the reason that this averment is not true.

82. Denied for the reason that this averment is not true.

83. Denied for the reason that this averment is not true.

84. Individuals who are placed on the RDAL requesting dentures are
identifiable.

(2) Fed. R. Civ. P. 23 (a)(2): Commonality

85. Defendants admit that there could be could be common questions of
law and fact concerning the use of the RDAL’s to provide routine, non-urgent

dental care to the prisoners requesting same in as fair a manner as practical.

39
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6345 Filed 02/22/18 Page 40 of 52

a. Defendants deny that they operate the RDAL in a manner that
results in a constitutional violation of a prisoner’s right to be free from
cruel and unusual punishment.

b. Defendants deny that they operate the RDAL in a manner that
results in a constitutional violation of a prisoner’s right to be free from
cruel and unusual punishment.

86. Ifaclass was certified regarding the operation of the RDAL to
provide fair access to routine, non-urgent dental care, Defendants admit that they
would raise common defenses of law and fact.

— (3) ‘Fed. R. Civ. P. 23 (a)(3): Typicality

87, It could be that the claims of prisoners placed on the RDAL are
typical of other prisoners placed on the RDAL but the proffered Plaintiffs are not
typical of those claims as described by Plaintiffs in this Fourth Amended
complaint.

(4) Fed. R. Civ. P. 23 (a)(4): Adequacy of Representation

88. Denied. As explained above neither of the proffered named Plaintiffs
presents a case similar to that described in the proposed Class IV, therefore this

class claim should be dismissed.

(5) Fed. R. Civ. P. 23 (b)

40)
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6346 Filed 02/22/18 Page 41 of 52

89. A prisoner is listed on the RDAL based on their request for routine
dental care. At any one time in the past year and a half, the RDAL has contained
approximately 3,500 prisoner listings. In 2017, approximately 75 -80% of the
RDAL turned over in four months. Defendants admit that 1f placement on the
RDAL is the criteria for being in proposed Class IV then there are too many
potential class members to make joinder practical.

90. Defendants admit that if Class IV is certified as challenging how the
RDAL’s are used to make routine dental services available in a fair manner to
prisoners based on their requests, the Defendants’ defenses will be similar.
Defendants deny that the use and operation of the RDALs violates the prisoners’
constitutional rights to be free from cruel and unusual punishment that would be
included in class IV (if certified).

EIGHTH AMENDMENT VIOLATION

91. Defendants re-assert and incorporate by reference all of their
responses to Plaintiffs’ Fourth Amended Complaint paragraphs 1-90 as if set forth
here in full.

92. Denied for the reason that this averment is not true. Some dental
health needs are serious medical needs and some dental conditions for which
dental science has created a remedy, are not serious medical needs. Dental care

provided by the MDOC is applied first to the urgent dental health conditions to

4]
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6347 Filed 02/22/18 Page 42 of 52

alleviate unnecessary pain, infection, swelling (usually a consequence of

infection), uncontrolled or excessive bleeding and loss of the ability to function —

meaning the ability to take in nutrition adequate to maintain one’s health.

93.

94.

95.

96.

97.

Denied for the reason that this averment is not true.

Denied for the reason that this averment is not true.

Denied for the reason that this averment is not true.

Denied for the reason that this averment is not true.

Denied for the reason that this averment is not true. There is a

difference between not being provided the ability to chew certain tough or hard

foods and being denied the ability to maintain proper nutrition.

98.

Denied for the reason that this averment is not true.

Relief Requested

WHEREFORE, for all of the above stated reasons and also for those in the

accompanying Affirmative Defenses, Defendants respectfully request that this

court dismiss Plaintiffs Fourth Amended Complaint, deny all of Plaintiffs’ requests

for relief as set forth in Plaintiffs’ prayer for relief Items A-E and sub-items 1-10,

42
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6348 Filed 02/22/18 Page 43 of 52

along with items F and G, and award Defendants their taxable costs for defending
this action.

Respectfully submitted,

BILL SCHUETTE
Attorney General

s/A, Peter Govorchin

A. Peter Govorchin (P31161)
Rock Wood (P41181)

Lisa C. Geminick (P60964)
Assistant Attorneys General
Attorneys for Defendant
P.O. Box 30736

Lansing, Michigan 48909
517.373.6434

Email: govorchinp@michigan.gov
(P31161)

 

Dated: February 22, 2018

CERTIFICATE OF SERVICE

I hereby certify that on February 22, 2018, I electronically filed the foregoing
paper with the Clerk of the Court using the ECF system which will send
notification of such filing of the foregoing document as well as via US Mail to all
non-ECF participants.

s/A, Peter Govorchin

A. Peter Govorchin (P31161)
Assistant Attorney General
Attorney for Defendant

P.O. Box 30736

Lansing, Michigan 48909
517.373.6434

Email: govorchinp(@michigan.gov
P3116]

43
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6349 Filed 02/22/18 Page 44 of 52

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN

SOUTHERN DIVISION

JOEY DEARDUFF, NICHOLAS
BAILEY, MELVIN BROWNES,
TIMOTHY BROWNWELL, TIMOTHY
FLESSNER, JAMES GUNNELS, LEON
MEANS, JOHN PORTER, ANTHONY
RICHARDSON, CAROL ROMAN,
BRYAN SLONE, and TINA STOLL, on
behalf of themselves all others similarly
situated, .

Plaintiffs,
y

HEIDI WASHINGTON, Director,
Michigan Department of Corrections,
JONG CHOL Dental Regional Director,
they are sued in their official capacities,

Defendant.

Daniel E. Manville (P3973 1)

Attorney for Plaintiffs

Michigan State University College of Law
P.O. Box 1570

East Lansing, Michigan 48826
517.336.8088, ext. 1137

Robert Gittleman (P14025)

Tracie Gittleman (P45176)
Attorneys for Plaintiffs

31731 Northwestern Hwy, Ste. LO1E
Farmington Hills, Michigan 48334
248.737.3600

No. 2:14-cv-11691

HON. LAURIE L. MICHELSON

MAG. MONA K. MAJZOUB

DEFENDANTS
AFFIRMATIVE DEFENSES
TO THE PLAINTIFFS’
CLAIMS SUBMITTED IN
PLAINTIFFS’ FOURTH
AMENDED COMPLAINT

Rock Wood (P41181)

A. Peter Govorchin (P31161)

Lisa C. Geminick (P60964)

Assistant Attorneys General

Attorneys for Defendants

Civil Litigation, Employment & Elections
Division

P.O. Box 30736

Lansing, Michigan 48909

517.373.6434
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6350 Filed 02/22/18 Page 45 of 52

DEFENDANTS’ AFFIRMATIVE DEFENSES TO THE PLAINTIFES’
CLAIMS SUBMITTED IN PLAINTIFFS’ FOURTH AMENDED
COMPLAINT

Pursuant to Fed. R. Civ. P. 8(c0, Defendants assert the following affirmative

defenses:

1.

Named Plaintiffs have failed to exhaust their available administrative
remedies and are therefore barred from pursuing this suit. Specifically, the
Plaintiffs’ failures to exhaust are identified as follows:

a. Plaintiff Bailey is proffered as a class representative for proposed
class claims I and III, but failed to exhaust his available administrative
remedies as to both claims.

b. Plaintift Bownes is proffered as a class representative on proposed
Class claims I and I], but did not exhaust his available administrative
remedies as to either of these claims.

C. Plaintiff Flessner is proffered as a class representative on proposed
class claims I and II but failed to exhaust his available administrative
remedies as to Class Il. (Defendants admit Plaintiff Flessner
exhausted as to proposed Class claim I).

d. Plaintiff Slone is proffered as a class representative as to proposed
Class Claims I and II but failed to exhaust as to proposed Class claim
I (Defendants contend Slone failed to exhaust and this Court has

found there is a question of fact as to whether Slone did exhaust his
| 2
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6351 Filed 02/22/18 Page 46 of 52

claim regarding the two-year qualification period for routine dental
care ~ see R. #209, Pe. ID #5752 and as to proposed Class claim I —
See R. #209, Pg. ID #5752 finding that Slone did not exhaust his
available administrative remedies as to periodontal diagnosis and

treatment and dismissing that claim).

2. Named Plaintiffs’ claims are moot making them unsuitable as class

representatives. Specifically:

a.

Plaintiff Means is proffered, for the first time, as a class representative
for proposed Class claim I. Means has been incarcerated since July 1,
2015 and had passed his two years of continuous incarceration as of
July 1, 2017, rendering any relief to be granted regarding shortening
or eliminating the two year qualification period for being able to
request and receive routine dental care moot as to him. Plaintiff
Means’ claim was mooted at the time of the filing of the Fourth
Amended complaint, rendering his claim on Proposed Class claim |
moot and making Plaintiff Means unsuitable as a Class representative
for proposed Class I.

Plaintiff Means is also proffered for the first time as a class
representative for proposed Class claim II. However, Means

received his dentures on October 26, 2017, prior to filing the Fourth
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6352 Filed 02/22/18 Page 47 of 52

Amended Complaint, rendering his claim moot and making him
unsuitable to serve as a class representative.
C. Plaintiff Stoll is proffered as a proposed class representative as to
proposed Class HI — dentures. Stoll received her dentures on January
13, 2017 making her claim for prospective injunctive relief regarding
dentures moot and making her unsuitable as a class representative for
proposed Class II.
d. _- Plaintiff Flessner was added to the Fourth Amended Complaint and is
proffered as a proposed class representative on proposed Class claim
I. Flessner began his incarceration on August 17, 2015. He
completed his two years of continuous incarceration as of August 17,
2017. Flessner’s claim as to the alleged constitutional violation
caused by the two year qualification period is moot as to him. Any
prospective injunctive relief regarding the two-year qualification
period will have no effect on him.
3. Plaintiffs have failed to state a claim on which relief can be granted.
4, Plaintiffs’ challenge to the use and operation of the Routine Dental
Appointment Lists (RDAL) for scheduling routine dental care lacks the

commonality and typicality required to support class certification as to
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6353 Filed 02/22/18 Page 48 of 52

10.

11.

Plaintiffs’ proposed Class 1V. Wal-Mart Stores, Inc. v Dukes, et al, 564 U.S.
338 (2011).

Plaintiffs’ claims are barred by release.

Plaintiffs have presented no viable class representatives for proposed Class
IV as they have not identified anyone who has allegedly suffered harm by
having a routine dental issue become urgent while they were on the RDAL.
Some of, Plaintiffs’ claims, to the extent that they accrued before January
16, 2015 are barred by the applicable three-year period of limitations.

Some of Plaintiffs’ claims are barred by the doctrine of laches.

Defendant relies upon all relevant provisions of the Prison Litigation Reform
Act, 42 U.S.C, § 1997e.

Some Plaintiffs lack standing to pursue the asserted Class claims because
they did not themselves seek the service the fourth amended complaint
alleges was denied and/or they have failed to allege an injury as a result of
the alleged denial of dental service that could meet the requirements of an
Eighth Amendment claim.

Plaintiffs’ claim(s) regarding proposed Class II — periodontal disease stage
diagnosis and treatment should be barred as they inevitably revolve around
individualized professional judgment of the dentist and are amount to

disputes over the manner of dental care and not deliberate indifference to a
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6354 Filed 02/22/18 Page 49 of 52

serious medical need. Thus, this proposed Class IT claims lack the
commonality and typicality required for a class action. Wal-Mart Stores, Inc.
v Dukes, et al, 564 U.S. 338 (2011).

12. Plaintiffs cannot show that the proposed class is so numerous that joinder of
all members is impractical as to Class [II — dentures, as there is no basis in
law for defining denture fabrication within 90 days as a matter of
constitutional obligation, over the generally accepted 180 days. Nor is there
even an independent constitutional obligation to fabricate dentures at all
since the absence of teeth does not, in and of itself, create a serious medical
condition.

13. Plaintiffs cannot show that they will fairly and adequately protect the interest
of the proposed class.

14. Plaintiffs cannot show that this proposed class action would fit into any of
the three established categories of class actions under Fed. R. Civ. P.
23(b)(1)-(3).

15. Oral health care being in large part a matter of self-care through proper oral
hygiene, and subject to diet (voluntary and non-voluntary), Plaintiffs may
bear at least some of the responsibility for their oral health, to the extent that

Plaintiffs or potential class members not engaging in consistent healthy oral
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6355 Filed 02/22/18 Page 50 of 52

16.

17.

18.

19.

20.

21.

hygiene are in the situation of the non-complaint patient and have caused or
contributed to their own adverse dental condition.

Plaintiffs have failed to mitigate their alleged injuries.

Plaintiffs alleged injuries may have been the result of pre-existing or
subsequently occurring conditions and events that were neither caused nor
aggravated by the events referred to in Plaintiffs’ Fourth Amended
Complaint.

Many of Plaintiffs’ allegations supporting their proposed class claims are in
the nature of hypotheticals or mere possibilities and rely on few, if any,
allegations of actual harm that can be attributed to the alleged wrongful
policy or conduct of the Defendants.

Plaintiffs’ class claims for proposed Class Claim II is barred because the
class members are likely incapable of ascertainment as the claim is presently
alleged.

Plaintiffs’ class claims should be dismissed because there is insufficient
detail alleged to indicate that some or all of the named Plaintiffs have
actually suffered any harm because of the allegations against the Defendants,
Defendants are protected from liability by the Eleventh Amendment to the
United States constitution for any claim for money damages, if one should

be asserted.
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6356 Filed 02/22/18 Page 51 of 52

22.

23.

24.

25,

Defendants, in their official capacity, are protected from hability by the
doctrine of qualified immunity.

Defendants, in their official capacity, are not persons subject to suit pursuant
to 42 USC 1983 as, in their official capacity, Defendants are the equivalent
of the state and, as such, are not persons for purposes of liability for
damages.

Defendants, sued in their official capacity, are protected from personal
liability by the doctrine of governmental immunity.

Defendants reserve their right to raise further defenses or assert other matters

revealed by their continuing investigation and discovery, including all

defenses available under Fed. R. Civ. P. 12 and 56.

Respectfully submitted,

BILL SCHUETTE
Attorney General

s/A, Peter Govorchin

A. Peter Govorchin (P31161)
Rock Wood (P41181)

Lisa C. Geminick (P60964)
Assistant Attorneys General
Attorneys for Defendant

P.O. Box 30736

Lansing, Michigan 48909
517.373.6434

Email: govorchinp(@michigan.gov
(P31161)

Dated: February 22, 2018
Case 2:14-cv-11691-LJM-MKM ECF No. 240, PagelD.6357 Filed 02/22/18 Page 52 of 52

CERTIFICATE OF SERVICE

I hereby certify that on February 22, 2018, I electronically filed the foregoing
paper with the Clerk of the Court using the ECF system which will send
notification of such filing of the foregoing document as well as via US Mail to all
non-ECF participants.

s/A, Peter Govorchin

A. Peter Govorchin (P31161)
Assistant Attorney General
Attorney for Defendant

P.O. Box 30736

Lansing, Michigan 48909
517.373.6434

Email: govorchinp@michigan.gov
P3116]

 
